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Robert G. Drummond
Chapter 13 Standing Trustee
P. O. Box 1829
Great Falls, Montana 59403-1829
Telephone: (406) 761-8600
Facsimile: (406) 453-4663
I.D. Number 0636
Trustee@MTChapter13.com
(Trustee)



                           UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF MONTANA
                   -------------------------------------------------------------------------
In re                                             )
                                                  )         No. 19-61179-13
KRISTINE ROSE IHLI,                               )
                                                  )
                       Debtor.                    )
                   -------------------------------------------------------------------------
                  MOTION OF TRUSTEE TO CONVERT AND NOTICE
                   -------------------------------------------------------------------------
        Pursuant to 11 U.S.C. § 1307(e), the undersigned respectfully moves the Court to convert
the above-entitled case to a case under Chapter 7. The grounds for this motion are as follows:
        This Motion is based upon the estimated claim filed by the Internal Revenue Service,
alleging that the Debtor has failed to file tax returns for the years 2016, 2017, and 2018. Thus,
cause for conversion exists because the Debtor has failed to file all tax returns due through the
year 2018 as required by 11 U.S.C. § 1308(a).
        DATED December 26, 2019.
                                                  Chapter 13 Standing Trustee
                                                  P. O. Box 1829
                                                  Great Falls, MT 59403-1829

                                                  By /s/ Robert G. Drummond
                                                  Trustee


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                       NOTICE OF OPPORTUNITY TO RESPOND
                            AND REQUEST A HEARING
If you object to the motion, you must file a written responsive pleading and request a
hearing within fourteen (14) days of the date of the motion. The responding party shall
schedule the hearing on the motion at least twenty-one (21) days after the date of the
response and request for hearing and shall include in the caption of the responsive pleading
in bold and conspicuous print the date, time and location of the hearing by inserting in the
caption the following:
                              NOTICE OF HEARING
                              Date: __________________
                              Time:__________________
                              Location:_______________
If no objections are timely filed, the Court may grant the relief requested as a failure to
respond by any entity shall be deemed an admission that the relief requested should be
granted.
       DATED December 26, 2019.
                                             Chapter 13 Standing Trustee
                                             P. O. Box 1829
                                             Great Falls, Montana 59403-1829

                                             By /s/ Robert G. Drummond
                                               Trustee


                                CERTIFICATE OF MAILING
       I, the undersigned, do hereby certify under penalty of perjury that a copy of the within and
foregoing MOTION OF TRUSTEE TO CONVERT AND NOTICE was sent by first class
mail postage prepaid on December 26, 2019, at Great Falls, Montana, and directed to the
following:
              KRISTINE ROSE IHLI
              3645 BEAR ACRES ROAD
              BONNER, MT 59823
                                             /s/ Tiffany Floerchinger
                                             Tiffany Floerchinger




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